                        Case 6:21-cv-00757-ADA Document 23 Filed 10/14/21 Page 1 of 1
AO 120 (Rev. 08/10)
                             Mail Stop 8                                                      REPORT ON THE
TO:
          Director of the U.S. Patent and Trademark Office                            FILING OR DETERMINATION OF AN
                            P.O. Box 1450                                             ACTION REGARDING A PATENT OR
                     Alexandria, VA 22313-1450                                                  TRADEMARK

                  In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
          filed in the U.S. District Court                WESTERN DISTRICT OF TEXAS                                     on the following
       G Trademarks or         G✔Patents. ( G the patent action involves 35 U.S.C. § 292.):
DOCKET NO.                        DATE FILED                      U.S. DISTRICT COURT
    6:21-cv-00757                         7/23/2021                               WESTERN DISTRICT OF TEXAS
PLAINTIFF                                                                 DEFENDANT
PALTAK HOLDINGS INC
                                                                              WEBEX COMMUNICATIONS INC, CISCO WEBEX LLC
                                                                              CISCO SYSTEMS INC


        PATENT OR                      DATE OF PATENT
                                                                                     HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1 6,683,858                                1/27/2004                Paltalk

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                                 In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                     INCLUDED BY
                                                   G Amendment                 G Answer          G Cross Bill            G Other Pleading
        PATENT OR                      DATE OF PATENT
                                                                                     HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
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                      In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT

      10/14/2021 - Joint Stipulated Dismissal



                                                                                                                          DATE
                                                                                                                                 10/14/2021


Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy
